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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                      :       CHAPTER 7
                                            :
KENNETH PAUL WELLINGTON,                    :       CASE NO. 18-58335-JWC
                                            :
         Debtor.                            :
                                            :

                                  CERTIFICATE OF SERVICE

     I, S. Gregory Hays, Chapter 7 Trustee, certify that I am over the age of 18 and that on this
date, I served a copy of the foregoing NOTICE OF AMENDED TRUSTEE’S FINAL
REPORT AND DEADLINE TO OBJECT (NFR) [Docket # 64] by first class U.S. Mail, with
adequate postage prepaid, on the persons or entities at the addresses stated on the attached
Exhibit “A”.

     I, S. Gregory Hays, Chapter 7 Trustee, certify that I am over the age of 18 and that on this
date, I served a copy of the foregoing NOTICE OF AMENDED TRUSTEE’S FINAL
REPORT, DEADLINE TO OBJECT AND HEARING [Docket #65] by first class U.S. Mail,
with adequate postage prepaid, on the persons or entities at the addresses stated on the attached
Exhibit “A”.

         This 13th day of February, 2023.

                                                     /s/ S. Gregory Hays
                                                    S. Gregory Hays
                                                    Chapter 7 Trustee

Hays Financial Consulting, LLC
2964 Peachtree Rd, N.W
Suite 555
Atlanta, Georgia 30305
(404) 926-0060
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                                  Exhibit “A”
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Barclays Bank Delaware                 HSBC Bank                          LoanDepot.com
100 S West St                          c/o JH Portfolio Debt Equities     26642 Towne Centre Dr
Wilmington, DE 19801-5015              5757 Phantom Dr # 225              Foothill Ranch, CA 92610-2808
                                       Hazelwood, MO 63042-2429


John Prather                           Office of the US Trustee           Wells Fargo Bank, N.A.
Keller Williams Intown Atlanta         362 Richard Russell Building       Wells Fargo Card Services
The Graham Seeby Group                 75 Ted Turner Drive, SW            PO Box 10438
621 N Aveue NE, Ste C50                Atlanta, GA 30303-3315             MAC F8235-02F
Atlanta, GA 30308-2867                                                    Des Moines, IA 50306-0438
Michael J. Bargar                      Discover Financial Services LLC    Account Management Resources
Arnall Golden Gregory, LLP             PO BOX 3025                        PO Box 60607
Suite 2100                             NEW ALBANY, OH 43054-3025          Oklahoma City, OK 73146-0607
171 17th Street, N.W.
Atlanta, GA 30363-1031
LoanDepot.com                          JPMorgan Chase Bank NA             Chase Card Services
c/o Phelan Hallinan et al              Bankruptcy Mail Intake Team        PO Box 15298
11675 Great Oaks Way                   700 KANSAS LANE FL 01              Wilmington, DE 19850-5298
# 375                                  MONROE, LA 71203-4774
Alpharetta, GA 30022-2434
Pentagon Federal Credit Union          Pentagon Federal CU                Wells Fargo Bank, N.A.
PO Box 1432                            Attn: Bankrutpcy Department        435 Ford Road, Suite 300
Alexandria, VA 22313-1432              P O BOX 1432                       St. Louis Park, MN 55426-4938
                                       ALEXANDRIA, VA 22313-1432


American Express Nat Bank              Prosper Marketplace, Inc.          Stephen Ryan Starks
c/o Becket and Lee LLP                 PO Box 396081                      Phelan Hallinan Diamond & Jones
PO Box 3001                            San Francisco, CA 94139-6081       Suite 320
Malvern, PA 19355-0701                                                    11675 Great Oaks Way
                                                                          Alpharetta, GA 30022-2434
Eric E. Thorstenberg                   Sterling Jewelers Inc              Fortivap/mabtc/atls
Eric E. Thorstenberg, Atty at Law      dba Kay Jewelers                   PO Box 105555
Suite 101                              PO Box 1799                        Atlanta, GA 30348-5555
333 Sandy Springs Cir                  Akron, OH 44309-1799
Atlanta, GA 30328-3833
Kenneth Paul Wellington                Discover Bank                      CENLAR FSB
1651 Viking Drive                      Discover Financial Services        Attn: BK Department
Birmingham, AL 35235-2927              PO Box 15316                       425 Phillips Blvd.
                                       Wilmington, DE 19850-5316          Ewing, NJ 08618-1430


Leroys Jewelers                        Wells Fargo Bank                   The Bank of Missouri
c/o Sterling Jewelers                  PO Box 10438                       PO Box 105555
PO Box 1799                            Des Moines, IA 50306-0438          Atlanta, GA 30348-5555
Akron, OH 44309-1799


Eric E. Thorstenberg                   Pentagon Federal Credit Union      American Express
Deighan Law LLC                        Bkr. Dept.                         PO Box 981540
Suite 101                              2930 Eisenhower Ave                El Paso, TX 79998-1540
333 Sandy Springs Cir                  Alexandria, VA 22314-4557
Atlanta, GA 30328-3833
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Discover Personal Loan             WF Pll                             Eric Wellington
PO Box 30954                       PO Box 9435                        604 Nantucket Circle
Salt Lake City, UT 84130-0954      Albuquerque, NM 87119-9435         King of Prussia, GA 19406
